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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
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     Movant appearing without an attorney
     Attorney for Movant Fidelity Mortgage Lenders, Inc.,et al.

                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA –SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:18-BK-13394-TA

 STEPHEN NGUYEN                                                               CHAPTER: 7

                                                                                      ORDER GRANTING MOTION FOR
                                                                                    RELIEF FROM THE AUTOMATIC STAY
                                                                                           UNDER 11 U.S.C. § 362
                                                                                      (Action in Nonbankruptcy Forum)

                                                                              DATE: April 2, 2019
                                                                              TIME: 10:30 a.m.
                                                                              COURTROOM:5B
                                                                              PLACE: 411 W. Fourth Street
                                                                                      Santa Ana, CA 92701

                                                              Debtor(s).

 MOVANT: Fidelity Mortgage Lenders, Inc., Profit Sharing Plan, Charles H. Hershson, Trustee



1. The Motion was:                  Opposed              Unopposed               Settled by stipulation

2. The Motion affects the following Nonbankruptcy Action:

    Name of Nonbankruptcy Action: Anh Kim Thu Nguyen, et al. v. Stephen P. Nguyen, et al.
    Docket number:30-2017-00915620
    Nonbankruptcy court or agency where the Nonbankruptcy Action is pending: Orange County Superior Court




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3. The Motion is granted under 11 U.S.C. § 362(d)(1).

4. As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.        Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.        Modified or conditioned as set forth in Exhibit                    to the Motion.
      c.        Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                remedies regarding the nonbankruptcy action do not constitute a violation of the stay.

5. Limitations on Enforcement of Judgment: Movant may proceed in the nonbankruptcy forum to final judgment
      (including any appeals) in accordance with applicable nonbankruptcy law. Movant is permitted to enforce its final
      judgment only by (specify all that apply):
      a.        Collecting upon any available insurance in accordance with applicable nonbankruptcy law.
      b.        Proceeding against the Debtor as to property or earnings that are not property of this bankruptcy estate.

6. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
   of the Bankruptcy Code.

7.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

8.         The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
           180 days, so that no further automatic stay shall arise in that case as to the nonbankruptcy action.
10.        This order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without
           further notice.
11.        Other (specify): The stay of 11 U.S.C. § 362(a) is terminated as to the Debtor for the purpose of claim liquidation
              and findings in the Nonbankruptcy Action, to final judgment. A further order is required for execution of the
              judgment against the bankruptcy estate.




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                   Date: April 9, 2019




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